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                         EXHIBIT E
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                                              NOTICE OF EXERCISE




Transactis, Inc.
Bethesda, Maryland 20814

Attention: ___________                                                       Date of Exercise: _______________


Ladies and Gentlemen:

         This constitutes notice under my stock option that I elect to purchase the number of shares for the
price set forth below.

         Type of option (check one):                  Incentive                  Nonstatutory 

         Stock option dated:                          _______________

         Number of shares as
         to which option is
         exercised:                                   _______________

         Certificates to be
         issued in name of:                           _______________

         Total exercise price:                        $______________

         Cash payment delivered
         herewith:                                    $______________

         Promissory Note delivered
         herewith:                                    $______________

         Value of ________ shares of
         Transactis, Inc.
         stock delivered herewith1:                   $______________

           By this exercise, I agree (i) to provide such additional documents as you may require pursuant to
the terms of the 2006 Equity Incentive Plan, (ii) to provide for the payment by me to you (in the manner
designated by you) of your withholding obligation, if any, relating to the exercise of this option, and
(iii) if this exercise relates to an incentive stock option, to notify you in writing within fifteen (15) days

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          Shares must meet the public trading requirements set forth in the option. Shares must be valued in accordance
with the terms of the option being exercised, must have been owned for the minimum period required in the option, and
must be owned free and clear of any liens, claims, encumbrances or security interests. Certificates must be endorsed or
accompanied by an executed assignment separate from certificate.
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after the date of any disposition of any of the shares of Common Stock issued upon exercise of this
option that occurs within two (2) years after the date of grant of this option or within one (1) year after
such shares of Common Stock are issued upon exercise of this option.

        I hereby make the following certifications and representations with respect to the number of
shares of Common Stock of the Company listed above (the “Shares”), which are being acquired by me
for my own account upon exercise of the Option as set forth above:

        I acknowledge that the Shares have not been registered under the Securities Act of 1933, as
amended (the “Securities Act”), and are deemed to constitute “restricted securities” under Rule 701 and
“control securities” under Rule 144 promulgated under the Securities Act. I warrant and represent to the
Company that I have no present intention of distributing or selling said Shares, except as permitted under
the Securities Act and any applicable state securities laws.

        I further acknowledge that I will not be able to resell the Shares for at least ninety days (90) after
the stock of the Company becomes publicly traded (i.e., subject to the reporting requirements of Section
13 or 15(d) of the Securities Exchange Act of 1934) under Rule 701 and that more restrictive conditions
apply to affiliates of the Company under Rule 144.

        I further acknowledge that all certificates representing any of the Shares subject to the provisions
of the Option shall have endorsed thereon appropriate legends reflecting the foregoing limitations, as
well as any legends reflecting restrictions pursuant to the Company’s Articles of Incorporation, Bylaws
and/or applicable securities laws.

         I further agree that, if required by the Company (or a representative of the underwriters) in
connection with the first underwritten registration of the offering of any securities of the Company under
the Securities Act, I will not sell, dispose of, transfer, make any short sale of, grant any option for the
purchase of, or enter into any hedging or similar transaction with the same economic effect as a sale, any
Shares or other securities of the Company held by me, for a period of time specified by the underwriter(s)
(not to exceed one hundred eighty (180) days) following the effective date of the registration statement of
the Company filed under the Securities Act. I further agree to execute and deliver such other agreements
as may be reasonably requested by the Company and/or the underwriter(s) that are consistent with the
foregoing or that are necessary to give further effect thereto. In order to enforce the foregoing covenant,
the Company may impose stop-transfer instructions with respect to my Shares until the end of such
period.

                                                           Very truly yours,
